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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
                v.                            )
                                              )       Criminal No. 1:18-mj-00146-RMM-1
VINCENT GALARZA                               )
                                              )
                Defendant                     )

                                           ORDER

        Upon consideration of the Consent Motion to Continue Preliminary Hearing, the Court

hereby finds that the ends of justice will be served by excluding time under the Speedy Trial Act,

and that those ends of justice outweigh the Defendant’s interests and the interest of the public in

a speedy trial, it is hereby,

         ORDERED, that Defendant’s Motion is GRANTED; and it is hereby,

         FURTHER ORDERED, that the preliminary hearing in this matter, currently

 scheduled for January 19, 2021, will be continued until March 19, 2021;

         FURTHER ORDERED, that Mr. Galarza having been advised of his rights under the

 Speedy Trial Act and having agreed to waive those rights for the time period between January

 19, 2021, and the next scheduled hearing date, the speedy trial clock shall be tolled for that

 time period.



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Date                                          United States Magistrate Judge
